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          ORDERED in the Southern District of Florida on January 12, 2021.




                                                                      Robert A. Mark, Judge
                                                                      United States Bankruptcy Court
_____________________________________________________________________________



                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

       In re:
                                                                            CASE NO. 19-21400-RAM
       JUAN M CABRERA HERNANDEZ
            Debtor

       ______________________________/

                      AGREED ORDER ON OBJECTION TO EXEMPTIONS (ECF #43)

                THIS CASE came on to be heard on the Trustee's Objection to Exemptions (#43), and the

       Court being advised that the parties agreed to the entry of the following order, and based on the

       record, it is ORDERED as follows:

                1. The Objection to Exemptions (ECF #43) is sustained in part and denied in part

                2. Any funds recovered by the Debtor to repair or replace the structure of the homestead

       is exempt.

                3. Any funds recovered by the Debtor that is not earmarked to repair or replace the

       structure of the homestead is not exempt.

                4. The Debtor shall provide the Chapter 13 Trustee with a breakdown of the necessary
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repairs and file a motion to approve any settlement or to disclose any award in the State Court

case.

                                                      ***
                                                     Submitted by
                                                           NANCY K. NEIDICH, ESQUIRE
                                                           STANDING CHAPTER 13 TRUSTEE
                                                           P.O. BOX 279806
                                                           MIRAMAR, FL 33027
                                                           (954) 443-4402

Nancy K Neidich, Esq, Chapter 13 Trustee, is directed to serve a conformed copy of this Order to Debtor's Attorney
immediately upon receipt and filed a certificate of service with the Clerk of the Court
